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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )         No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )         ORAL ARGUMENT REQUESTED
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

           PETITIONERS’ MOTION FOR IMMEDIATE INTERIM RELEASE

       This Court has scheduled a hearing on Petitioners’ Motion for Order to Show Cause, Dkt.

304, on November 4 and 5, 2019. Dkt. 380. Without an interim release order, therefore, the

detained class members, including those who have not been found to pose any danger or flight

risk, will remained needlessly detained for at least another month. For the reasons stated in

Petitioners’ accompanying Second Supplemental Memorandum in Support of Their Motions for

Order to Show Cause and for Interim Release—including the class members’ prolonged

detention, the government’s unfulfilled promise to consider their release, and the irreparable

harm being suffered by the class members and their families—Petitioners now respectfully

request that the Court order the immediate interim release of some or all of the six detained class

members at issue, including any appropriate conditions of release to apply while the Petitioners’

show-cause motion is pending.
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         Respectfully submitted this 3rd day of October, 2019.

                                                 Counsel for the Petitioners


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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Petitioners conferred

with counsel for Respondents on October 3, 2019 in an attempt to resolve the issues raised in this

motion. Respondents did not consent to this motion.

                                                     /s/ Colleen M. McCullough
                                                     Colleen M. McCullough




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